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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE VVESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
TERRETTA WEBB, )
Plaintift`, §
VS. § No. 04-1288-T/An
STANLEY JONES REALTY, INC., §
Defendant. §

 

ORDER GRANTING DEFENDANT’S SECOND MOTION TO DISMISS

 

This action Was filed on October 29, 2004 by the plaintiff, Terretta Webb, against her
former employer, Stanley J ones Realty, Inc. Plaintift" s original complaint alleged causes of
action under the Family and Medical Leave Act, 29 U.S.C. § 2601 et seq. and the Employee
Retirement Income Security Act of 1974 as amended by the Consolidated Omnibus Budget
Reconciliation Act of 1985, 29 U.S.C. § 1611 et seq. On January 14, 2005 the defendant
tiled an answer to the complaint and a counterclaim for breach of fiduciary duty, negligence,
tortious conversion of property and unjust enrichment On June 21, 2005, plaintiff moved
for leave to tile an amended complaint, Which Was granted by the Magistrate Judge. The
amended complaint, Which adds allegations of slander under Tenncssee laW, was filed on
Junc 27, 2005. Before the Court is defendant’s motion to dismiss the amended complaint

Plaintiff has responded to the motion.

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A motion to dismiss under Rule 12(b)(6) tests Whether a claim has been adequately
stated in the complaint ln evaluating a motion to dismiss under Rule 12(b)(6), all
allegations in the complaint are taken as true and the complaint is construed liberally in favor
ofthe party opposing the motion to dismiss Westlake v. Lucas, 537 F.2d 857, 858 (6th Cir.
1976). The complaint need only afford the defendant “fair notice of vvhat the plaintiff’s
claim is and the grounds upon Which it rests.” Lanerv. l\/larshall, 898 F.2d 1196, 1 199 (61}‘
Cir. 1990) (quoting Conley v. Gibson, 355 U.S. 41 , 47 (1957)). A motion to dismiss under
Rule 12(b)(6) is appropriate only “if it is clear that no relief could be granted under any set
of facts that could be proved consistent With the allegations.” Hishon v. King & Spaulding,
467 U.S. 69, 73 (1984) (citing M, 355 U.S. at 45-46)); Allard v. Weitzman (In re
Delorean l\/lotor Co. ), 991 F.2d 1236, 1240 (6th Cir. 1993).

In the amended complaint, plaintiff alleges that her employment Was terminated by
the defendant effective July 9, 2004. lt is further alleged that “since Webb’s termination,
Defendant, Defendant [sic] and its agents, have published to current and former tenants and
members of the public . . . that Webb Was terminated for stealing.” (Ani. Compl. 11 19.) The
defendant argues that this allegation fails to state a claim upon vvhich relief may be granted
because it does not adequately set forth the time and place of the allegedly slanderous
Statements.

In Tennessee, the statute of limitations for slander is six months from the date the

words are uttered, se_e Tenn. Code Ann. § 28~3-103, and the “discovery rule” does not apply

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to toll the statute until the injury is discovered by the plaintiff. @alitv Auto Parts Co. v.
BluffCity Buicl< Co., 876 S.W.2d 818, 821-22 (Tenn. 1994). More than eleven months had
passed since plaintiffs termination When she filed her motion to amend the complaintl
Thus, it is entirely possible that the claim is barred by the statute of limitations Plaintiff
alleges only that the slanderous statements Were uttered after her termination on July 9,
2004.

Tennessee law no longer requires that a plaintiff plead allegedly slanderous
statements verbatim. Handley v. Mays, 588 S.W.2d 772, 774-76 (Tenn. Ct. App. 1979).
Only the substance of the utterance must be set forth. l_d_. at 775. However, the Tennessee
Court of Appeals has held that, in order to state a claim upon Which relief may be granted,
a plaintiffmust plead the time and place of the allegedly slanderous utterance. E Ma]§
v. Millsaps, 1989 WL44840, *6 (Tenn. Ct. App. May 3, 1989); Handley, 588 S.W.2d at 775
(claim stated “[W]here the substance of the slanderous utterance is pled along With notice
of the time and place of the utterance”); see also Carter v. Duke Univ. Med. Ctr., No.
95-CV»00042, 1995 WL 17208544, *2(M.D.N.C.Oct.3,1995)(UnderFed.R.Civ.P.9(f),
allegations of time and place of slanderous statements become material in testing for testing
sufficiency of complaint.).

Plaintiff argues that the allegations in the amended complaint are sufficient, and that
the defendant can obtain further information regarding the claim through the discovery

process However, the Court finds that plaintist indefinite allegation of time and place is

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inadequate to apprise the defendant of the claim against which it must defend and to permit
the assertion of a statute of limitations defense. Thus, the amended complaint fails to state
a claim upon Which relief may be granted.

The defendant’s second motion to dismiss (doc. #35) is hereby GRANTED.

lT IS SO ORDERED.

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This notice confirms a copy of the document docketed as number 39 in
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